Case 16-13735-JKS   Doc 38   Filed 12/28/18 Entered 12/28/18 12:11:22   Desc Main
                             Document     Page 1 of 1


LEVITT & SLAFKES, P.C.
515 Valley Street
Suite 140
Maplewood, New Jersey 07040
Tel:(973) 313-1200
E-Mail: blevitt@lsbankruptcylaw.com
ATTORNEYS FOR DEBTOR
BY: Bruce H. Levitt, Esq. (BL9302)

                  UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF NEW JERSEY
In re:                        :
                              : CHAPTER 13
     PETER ANNICCHIARICO,     :
                              : Case No.: 16-13735
                              :
                              : OPPOSITION TO CERTIFICATION
                              : OF DEFAULT
             Debtor.          :
                              :
                              :

      Peter Annicchiarico, by and through counsel, Levitt &

Slafkes, P.C., in response to Certification of Default, says as

follows:

      1. The Debtor has secured funding from his retirement

account to cure the default to the secured creditor.

      2. The Debtor expects to cure the default no later than

December 31, 2018.

      3. Accordingly, it is respectfully requested that pending

Certification of Default be denied.

                                                 LEVITT & SLAFKES, P.C.
                                                 Attorneys for Debtor

                                            By:/s/Bruce H. Levitt
                                                Bruce H. Levitt

Dated: December 28, 2018
